                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 SANDRA RODRÍGUEZ-COTTO, ET
 AL.

        Plaintiff,

                v.                                       CIVIL NO. 20-1235 (PAD)

 WANDA VÁZQUEZ-GARCED, et al.,

        Defendants.


             MINUTES OF PROCEEDINGS: TELEPHONE CONFERENCE

       Today, the court held a telephone conference with attorneys Fermín L. Arraiza-Navas,

attorney for plaintiffs; and Susana I. Peñagarícano-Brown, Juan C. Ramírez and Joel Torres,

attorneys for defendants. The conference started at 11:10 a.m. and ended at 11:21 a.m.

       1. The court inquired as to the hearing the parties envision and whether any of them will

           need to present any exhibits or live testimony. Attorney Arraiza explained the parties

           conferred as to this matter and exchanged proposed factual stipulations that will be

           submitted to the court later today. In light of the factual stipulations and the unsworn

           statements already filed, they will not need to present any exhibits or live testimony.

           Rather, they envision a motion hearing during which the parties will argue the motions

           that are already on the docket and refer to the factual stipulations.

       2. Attorney Ramirez agreed and informed the court as to the status of the factual

           stipulations. In addition, he inquired as to whether the court will consider arguments

           regarding the mootness issue at the hearing. The court pointed out that the parties

           should be ready to argue all motions filed and to answer any questions the court may

           have with respect to those motions.
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        3. Attorney Arraiza informed that plaintiff requested a certified translation of Senate Bill

             1582 and will be submitting the translation for the record with his brief.

        SO ORDERED.

        In San Juan, Puerto Rico, this 19th day of June, 2020.

                                                       s/Pedro A. Delgado-Hernández
                                                       PEDRO A. DELGADO-HERNÁNDEZ
                                                       United States District Judge
